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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

  ________________________________________________
  ENABLE CREATIVE LLC d/b/a WE FLY AERIAL          :
  MEDIA                                            :                      Case No. 1:21-cv-22733
                                                   :
                          Plaintiff,               :
         v.                                        :
                                                   :                     COMPLAINT
  JOIA BEACH LLC D/B/A                             :
  JOIA BEACH RESTAURANT & BEACH CLUB               :
                                                   :
                          Defendant.               :                     JURY TRIAL DEMANDED
  _______________________________________________ :


          Plaintiff Enable Creative LLC d/b/a We Fly Aerial Media (“Plaintiff” or “We Fly”), by its

  attorneys Kushnirsky Gerber PLLC and Orion Intellectual Property Law Group, for its complaint

  against defendant Joia Beach LLC d/b/a Joia Beach Restaurant & Beach Club (“Joia Beach” or

  “Defendant”), alleges as follows:

                                    JURISDICTION AND VENUE

          1.      This Court has original jurisdiction pursuant to 17 U.S.C. § 501 and 28 U.S.C. §§

  1331 and 1338 and supplemental jurisdiction pursuant to 28 U.S.C. § 1367.

          2.      This Court has personal jurisdiction over Joia Beach pursuant to Fla. Stat. §§

  48.193. Joia Beach is a Florida limited liability company, is headquartered in this District, and

  regularly does business in this District.

          3.      Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b) and 1400 because

  Joia Beach operates its business in this District, may be found in this District, and is subject to

  personal jurisdiction here. Further, a substantial part of the events giving rise to the claims at issue

  in this action occurred in this District.

                                                PARTIES


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         4.      Plaintiff is a California limited liability company owned and operated by Jake Ryan

  Butters, a professional photographer based in Miami, Florida. Plaintiff has satisfied the

  requirements of 17 U.S.C. § 411 prior to filing this lawsuit. Mr. Butters operates through the We

  Fly entity and engages in projects using the We Fly entity. Mr. Butters is known for its aerial

  photographs of Miami, featured on its website We Fly Miami, located at www.wefly.miami, and

  on various We Fly Miami social media accounts. Plaintiff uses the We Fly Miami website and its

  We Fly Miami Instagram account to showcase and promote those photographs for licensed

  commercial use. Companies looking to license Plaintiff’s photographs can easily contact the

  company through the We Fly Miami website or the We Fly Miami Instagram account.

         5.      Defendant Joia Beach is a limited liability company based in Miami Beach, Florida.

  Joia Beach manages and operates a restaurant and beach club at 1111 Parrot Jungle Trail in Miami,

  Florida 33132. Joia Beach maintains social media accounts, including on Facebook and Instagram,

  to advertise and promote its restaurant and beach club.

                                   FACTUAL BACKGROUND

         6.      Plaintiff is a limited liability company owned by Jake Ryan Butters, a photographer

  known for his aerial photographs of Miami.

         7.      In early 2020, Mr. Butters took an aerial photograph of the Miami waterfront

  entitled Morning Beach (the “Photograph”) and placed copyright management information on the

  Photograph. Morning Beach is attached as Exhibit A.

         8.      Plaintiff obtained federal copyright registration No. VA0002259902 for the

  Photograph on July 17, 2021.

         9.      On March 7, 2020, Mr. Butters, on behalf of We Fly, contacted Joia Beach via

  Instagram to promote We Fly’s photography services. Mr. Butters provided Joia Beach with a

  copy of the Photograph as a sample of the types of image Joia Beach could license from We Fly.

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  The Photograph contained conspicuous copyright management information in the form of a

  watermark Instagram tag reading “WE FLY AERIAL MEDIA” at the top center of the image.

          10.     Rather than hire We Fly or discuss a potential license, Joia Beach used the

  Photograph without Plaintiff’s permission to advertise its restaurant and beach club in July and

  August 2020 (the “Infringing Advertisements”) The Infringing Advertisements include copies of

  the Photograph alongside text or other photographs promoting Joia Beach’s hiring opportunities,

  outdoor facilities, and the Joia Beach brand itself. In each Infringing Advertisement, the original

  We Fly watermark had been intentionally removed. Examples of the Infringing Advertisements

  are attached as Exhibit B.

          11.     Joia Beach’s use of the Photograph infringes Plaintiff’s copyright in the Photograph

  in violation of the U.S. Copyright Act, 17 U.S.C. § 501 et seq. Joia Beach did not obtain permission

  or license from Plaintiff to use the Photograph in the Infringing Advertisements or for any

  commercial purpose.

          12.     Joia Beach’s infringement of the Photograph has been willful. Joia Beach knew or

  should have known that Plaintiff required a licensing fee for its works, including the Photograph.

  Joia Beach should have contacted Plaintiff and paid a proper license fee before using the

  Photograph. Instead, Joia Beach has profited from the unauthorized use of Plaintiff’s photograph

  through its display of the Infringing Advertisements.

          13.     Additionally, the intentional removal of copyright management information

  violates Plaintiff’s rights under the Digital Millennium Copyright Act, 17 U.S.C. §§ 1202(b).

  Defendant intentionally cropped the Photograph in order to remove the copyright management

  information so that it would not appear in the finished Infringing Advertisements. Defendant did

  so with the intent to induce, enable, facilitate or conceal its infringement of Plaintiff’s rights.




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          14.     Plaintiff has been significantly damaged by Defendant’s unlawful use of the

  Photograph and by Defendant’s intentional removal of Plaintiff’s copyright management

  information and has been forced to file this action in order to protect its rights.

          15.     Plaintiff seeks actual damages, disgorged profits, statutory damages, attorneys’

  fees, injunctive relief, and other relief as the Court deems just and proper. Plaintiff respectfully

  requests a trial by jury in this action for all issues so triable.

                              FIRST CLAIM FOR RELIEF
                     COPYRIGHT INFRINGEMENT - 17 U.S.C. § 501, et seq.

          16.     Plaintiff repeats and realleges each and every allegation set forth in paragraphs 1

  through 15 above and incorporates them herein by this reference.

          17.     Plaintiff is the legal owner of all rights, title, and interest in the Photograph,

  including the copyright in the Photograph.

          18.     Upon information and belief, Defendant had access to the Photograph.

          19.     Upon information and belief, Defendant copied, reproduced, distributed, adapted,

  and/or publicly displayed the Photograph without the consent, permission, or authority of Plaintiff.

          20.     Defendant’s conduct constitutes infringement of Plaintiff’s copyright and exclusive

  rights in violation of 17 U.S.C. §§ 106 and 501.

          21.     Defendant’s acts of infringement have been willful, intentional, purposeful, and/or

  in reckless disregard of and with indifference to the rights of Plaintiff.

          22.     Plaintiff is entitled to actual damages and Defendant’s profits related to the

  infringement both in the United States and around the world, pursuant to 17 U.S.C. § 504. Plaintiff

  may also elect, at any time before final judgment is rendered, to receive statutory damages in

  connection with Defendant’s willful infringement, pursuant to 17 U.S.C. § 504.




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          23.    Defendant’s acts have caused and will continue to cause irreparable harm to

  Plaintiff unless restrained by this Court. Plaintiff has no adequate remedy at law.

                     SECOND CLAIM FOR RELIEF
   REMOVAL OF COPYRIGHT MANAGEMENT INFORMATION - 17 U.S.C. § 1202(b)

          24.    Plaintiff repeats and realleges each and every allegation set forth in paragraphs 1

  through 23 above, and incorporates them herein by this reference.

          25.    The Photograph includes conspicuous copyright management information, which

  is conveyed in connection with the Photograph and protected under 17 U.S.C. § 1202(b).

          26.    Upon information and belief, in the process of unlawfully copying, reproducing,

  distributing, adapting, and/or publicly displaying the Photograph in the Infringing Advertisements

  without the consent, permission, or authority of Plaintiff, Defendant intentionally removed

  Plaintiff’s copyright management information from the Photograph.

          27.    Upon information and belief, Defendant created and used copies of the Photograph

  with the intent and knowledge that copyright management information had been intentionally

  removed therefrom.

          28.    Upon information and belief, Defendant intentionally removed Plaintiff’s copyright

  management information from the Photograph and created and used copies of the Photograph with

  Plaintiff’s copyright management information removed with the knowledge that doing so would

  induce, enable, facilitate, or conceal an infringement of Plaintiff’s rights under the Copyright Act,

  17 U.S.C. § 101 et seq.

          29.    Defendant engaged in these activities without the consent or authorization of

  Plaintiff.

          30.    Plaintiff has been injured as a result of these violations of 17 U.S.C. § 1202(b) and

  is entitled to injunctive relief, damages, costs, and attorneys’ fees. Pursuant to 17 U.S.C. §



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  1203(c)(3), Plaintiff may also elect to recover statutory damages of up to $25,000 for each

  violation of 17 U.S.C. § 1202(b).

                                       PRAYER FOR RELIEF

            WHEREFORE, Plaintiff prays for relief against Defendant as follows:

            1.     For an order permanently restraining and enjoining Defendant from copying,

  reproducing, distributing, adapting, and/or publicly displaying the Photograph or any elements

  thereof;

            2.     For an award to Plaintiff of its actual damages in connection with Defendant’s

  willful copyright infringement;

            3.     For an award to Plaintiff of all of Defendant’s disgorged worldwide profits

  attributable to Defendant’s infringing uses of the Photograph;

            4.     For an award to Plaintiff of statutory damages under the Copyright Act, 17 U.S.C.

  § 504(c), as well as attorneys’ fees and costs under the Copyright Act, 17 U.S.C. § 505;

            5.     For an award to Plaintiff of $25,000 per violation of 17 U.S.C. § 1202(b) and an

  award of Plaintiff’s attorneys’ fees and costs under 17 U.S.C. § 1203;

            6.     For prejudgment interest on all damages awarded by this Court; and

            7.     For such other and further legal and equitable relief as the Court deems just and

  proper.



  Respectfully submitted on July 28, 2021,


                                                KUSHNIRSKY GERBER PLLC
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                         EXHIBIT A




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                          EXHIBIT B




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